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THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LUZ ROMAN, et al.,

 

Plaintiffs,
: 3:19-CV-1469 Fy

V. | : (JUDGE MARIANI) SCR ANN
: N

WAL-MART, et al.,
Defendants.
_ f — ORDER
AND NOW, THIS (7 * "| pay OF OCTOBER, 2021, Magistrate Judge Joseph

F. Saporito having reported that the parties have settled the above-captioned action, ITIS
HEREBY ORDERED THAT this action is DISMISSED without costs and without prejudice
to the right, upon good cause shown within sixty (60) days, to reinstate the action if
settlement is not consummated.

Failure of a party to file a motion for reinstatement, or a motion for an extension of
time to consummate the settlement, within the above 60-day time period will result in the

automatic conversion of this dismissal from one without prejudice to one with prejudice.

 
    
  

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Robert D. Mariani
United States District Judge

     
